 Case 2:24-cv-00104-RAH-JTA          Document 40-1      Filed 04/26/24   Page 1 of 17




              IN THE UNITED STATES DISTRICT COURT FOR THE
                      MIDDLE DISTRICT OF ALABAMA
                           NORTHERN DIVISION

AMERICAN ALLIANCE FOR EQUAL
RIGHTS, a nonprofit corporation,
                     Plaintiff,                  Civil Action No. 2:24-cv-00104-RAH- JTA
       v.
KAY IVEY, in her official capacity as Governor
of the State of Alabama,
                     Defendant.




     MEMORANDUM OF LAW IN SUPPORT OF PROPOSED INTERVENOR’S,
        THE ALABAMA ASSOCIATION OF REAL ESTATE BROKERS,
                  MOTION FOR INTERVENTION
   Case 2:24-cv-00104-RAH-JTA             Document 40-1        Filed 04/26/24       Page 2 of 17




       Proposed Intervenor, the Alabama Association of Real Estate Brokers (“AAREB”), is a

longstanding trade association and civil rights organization for Black real estate professionals in

Alabama, including appraisers. Proposed Intervenor moves to intervene as of right as a defendant

to protect its legal interest in upholding two statutory requirements that govern appointments to

Alabama’s Real Estate Appraisers Board (“Appraisers Board”). In the alternative, Proposed

Intervenor seeks permissive intervention from this Court.

       Plaintiff American Alliance for Equal Rights (“AAER”) seeks to nullify two statutory

requirements: first, that “no less than two of the nine board members shall be of a minority race”

(“Racial Minorities Requirement”), and second, that the Appraisers Board “shall be inclusive and

reflect the racial, gender, geographic, urban/rural, and economic diversity of the state” (“General

Inclusion Requirement”). Ala. Code § 34-27A-4 (2024). In filings to date, Defendant Ivey has

not defended either statutory requirement: the Governor has characterized the Racial Minorities

Requirement as unconstitutional, and the General Inclusion Requirement as “hortative and

unenforceable.” Answer 4-5, ECF No. 36. In a recent filing, the parties indicated that they are

discussing settlement. Joint Mot. to Continue 26(f) Report Deadline, ECF No. 38.

       Given Defendant Ivey’s position, and the potential of a settlement, Proposed Intervenor

must intervene to defend its significant legal interests. Several appraisers are members of

AAREB. Indeed, one of AAREB’s members currently serves on the Appraisers Board. The

Appraisers Board has significant authority to regulate professional appraisers and can impact

practices in the profession, including issues of racial and other bias in appraisals. Given its

authority, having racial minorities and other groups, like women and Alabamians from rural

areas, included on the Appraisers Board is paramount. As detailed below, the challenged

statutory requirements further AAREB’s mission and its interests in promoting representation on




                                                  2
   Case 2:24-cv-00104-RAH-JTA            Document 40-1           Filed 04/26/24    Page 3 of 17




the Appraisers Board for its members and equitable real estate practices, including fair

appraisals.

       AAREB is entitled to intervene as of right. It is moving to intervene promptly, ten days

after learning of the settlement discussions, and less than a month after Defendant Ivey’s

Answer. Because this case is in its early stages, and no scheduling order is in place, the parties

will not be prejudiced by AAREB’s intervention. That cannot be said for AAREB’s interests,

which, absent successful intervention, will be impaired by the relief Plaintiff AAER seeks.

AAREB’s significant legal interests and the inadequacy of the existing parties’ defense further

support intervention as of right. Specifically, the defense offered by Defendant Ivey

demonstrates that Defendant Ivey will not defend the legality and enforceability of the two

statutory requirements.

       While AAREB believes it is entitled to intervene as of right, it seeks permissive

intervention in the alternative, which is also warranted here.

                                  FACTUAL BACKGROUND

       Established in 1990, the Appraisers Board aims to “protect the public interest” by

ensuring that consumers receive services from fully qualified appraisers. Ala. Real Estate

Appraisers Bd., About Us, https://reab.alabama.gov/about/ (last visited Apr. 26, 2024). The

Appraisers Board controls licensing, continuing education requirements, and disciplinary action

against licensed appraisers, among other responsibilities. Id. Under Alabama law, two of the nine

members of the Appraisers Board “shall be of a minority race,” and “[t]he overall membership of

the board shall be inclusive and reflect the racial, gender, geographic, urban/rural, and economic

diversity of the state.” Ala. Code § 34-27A-4 (2024); see also Ala. Admin. Code 780-X-1-.02

(2023) (regulation with identical provisions).




                                                  3
   Case 2:24-cv-00104-RAH-JTA            Document 40-1        Filed 04/26/24      Page 4 of 17




       The Alabama Association of Real Estate Brokers (“AAREB”) is a trade association and

civil rights organization for Black real estate professionals in Alabama. Brown Decl. Ex. A ⁋ 3.

AAREB’s members include licensed appraisers, one of whom currently serves on the Appraisers

Board. Id. ⁋ 10. AAREB is the Alabama chapter of the National Association of Real Estate

Brokers. (“NAREB”). Id. ⁋ 4. Founded in 1947, NAREB is the oldest trade association for Black

real estate professionals with a mission of “Democracy in Housing.” Id. ⁋ 5. NAREB was

established at a time when Black real estate professionals were wholly excluded from joining

other professional organizations due to their race. Id. As part of its mission, AAREB engages in

outreach, education, and advocacy to increase diversity in the profession, close the gap in

homeownership and wealth for racial minorities, and dismantle racially discriminatory practices

in the real estate industry that have caused devastating harm to Black communities and continue

to do so. Id. ⁋ 8. Through its work, AAREB has direct knowledge of the history and ongoing

impact of discrimination in all facets of the real estate industry in Alabama, including in

licensing and appraisals. Id. ⁋ 17.

       Specific to appraisals, AAREB engages in education and advocacy efforts related to

appraisal bias and the resulting loss of wealth in Black communities. Id. ⁋ 11. In addition,

because Black appraisers and other appraisers of color are underrepresented in Alabama and

nationwide, both AAREB and NAREB conduct outreach and mentoring to encourage

underrepresented groups to join the profession. Id. ⁋ 14. AAREB also encourages its members to

serve on public boards, including the Appraisers Board, when it learns of any vacancies. Id. ⁋ 13.

       AAREB advocates for a range of policies, like the two requirements at issue here, that

attempt to address the legacy of discrimination that still impacts Black Alabamians, including

real estate professionals and consumers. Id. ⁋ 15. For example, when the Alabama Senate




                                                 4
   Case 2:24-cv-00104-RAH-JTA            Document 40-1         Filed 04/26/24      Page 5 of 17




introduced a bill to repeal a requirement that at least one Black member serve on Alabama’s Real

Estate Commission in 2021, AAREB and NAREB advised the Legislature’s leadership and

Governor Ivey through letters and other advocacy that this provision was needed to correct for

the legacy of racial discrimination in housing and lending in Alabama. Id. ⁋ 16. AAREB also

supports broader inclusion efforts to ensure that professional boards reflect the communities that

they serve. Id. ⁋ 12.

        The Appraisers Board regulates professional appraisers and helps shape practices in the

real estate industry. Having different perspectives and life experiences at the table leads to more

equitable outcomes, particularly in the context of licensing, investigations, and discipline of

members. Id. The weakening, or elimination, of either or both of the two provisions that are the

subject of the litigation would directly impact AAREB’s members and AAREB’s ability to carry

out its mandate of “Democracy in Housing.” Id. ⁋ 18.

                                   PROCEDURAL BACKGROUND

        On February 13, 2024, Plaintiff AAER initiated this litigation against Governor Ivey on

behalf of Member A. Compl., ECF No. 1. AAER alleges that the Defendant, Governor Ivey,

discriminated against Member A when she applied for the public member seat on the Appraisers

Board. Id. at 5. Member A, now identified as Laura Clark, is a white female based in Prattville,

Alabama. Mem. Op. and Order 3, ECF No. 30; see also Answer 1, ECF No. 36. AAER

represented that Ms. Clark submitted her application just days before the Complaint was filed.

Mem. Op. and Order 3 n. 1, ECF No. 30. AAER claims that Ms. Clark received unequal

consideration because of a “racial quota.” Compl. 4, ECF No. 1. AAER later clarified that it

views both the Racial Minorities Requirement and the General Inclusion Requirement as “racial




                                                 5
   Case 2:24-cv-00104-RAH-JTA            Document 40-1        Filed 04/26/24      Page 6 of 17




mandates” that must be “declared unconstitutional.” Reply in Supp. of Pls. Mot. for TRO/Prelim.

Inj. 14, ECF No. 28.

       Before the Governor responded to the lawsuit, Plaintiff moved for a temporary

restraining order to block the Governor’s pending appointments to the Appraisers Board.

Plaintiff argued that the appointments amounted to “gamesmanship” calculated to strip this Court

of jurisdiction. Pls. Mot. for TRO/Prelim. Inj. 2, ECF No. 11. In opposing the TRO motion, the

Governor disputed that this Court has subject matter jurisdiction, including whether Member A

had standing. Resp. in Opp. to Mot. for TRO/Prelim. Inj. 7-12, ECF No. 20. The Court denied

the TRO motion and also held that the Governor’s pending appointments would have no impact

on Plaintiff’s standing. Mem. Op. and Order 9, 12, ECF No. 30.

       Defendant’s positions as to these provisions became clear in the Answer filed March 29,

2024. Defendant Ivey agreed with AAER that the Racial Minorities Requirement – that two

members shall be “of a minority race” – is “an unconstitutional quota” that she does not—and

will not—enforce. Answer 4, ECF No. 36. In addition, Defendant Ivey conceded that the Racial

Minorities Requirement serves no “compelling government interest,” does not “remediate any

specific instances of [unlawful] racial discrimination,” and is not “narrowly tailored to

remediating past, intentional discrimination.” Id. at 3-4. Nor did Defendant Ivey defend the

General Inclusion Requirement. Rather, Defendant Ivey argued that the General Inclusion

Requirement is “hortative and unenforceable.” Id. at 5. In other words, Defendant Ivey claims

that she has no legal obligation to take any action to comply with this requirement.

       Last week, the parties moved jointly to continue their Rule 26(f) Report deadline – which

presumably would have included a period of discovery and deadlines for filing dispositive

motions – because they are engaged in settlement discussions. Joint Mot. to Continue 26(f)




                                                 6
   Case 2:24-cv-00104-RAH-JTA              Document 40-1         Filed 04/26/24      Page 7 of 17




Report Deadline, ECF No. 38. The Court granted that motion for good cause. Text Order, ECF

No. 39.

                                       LEGAL STANDARD

          Rule 24(a) of the Federal Rules of Civil Procedure governs intervention as of right. Fed.

R. Civ. P. 24(a). In the Eleventh Circuit, the moving party must demonstrate: (1) that its

application to intervene is timely; (2) it has an interest relating to the property or transaction

which is the subject of the action; (3) that disposition of the action may, as a practical matter,

impede or impair its ability to protect its interest; and (4) its interest is represented inadequately

by the parties in the suit. See Burke v. Ocwen Fin. Corp., 833 F. App'x 288, 290 (11th Cir. 2020).

          In addition, courts may grant permissive intervention under Rule 24(b) where the

intervenor has a claim or defense that shares with the main action a common question of law or

fact and where the intervention will not unduly delay or prejudice the adjudication of the original

parties’ rights. Id. at 293; see also Fed. R. Civ. P. 24(b).

                                            ARGUMENT

          Proposed Intervenor meets all four requirements for mandatory intervention. In the

alternative, permissive intervention is appropriate here given the common questions of law and

fact, and because intervention will not unduly delay or prejudice the current parties.

  I.      Proposed Intervenor, AAREB, Is Entitled to Mandatory Intervention

             A. AAREB’s motion is timely.

          Four factors determine whether a motion is timely under Rule 24(a): “(1) the length of

time during which the would-be intervenor knew or reasonably should have known of his interest

in the case before he petitioned for leave to intervene; (2) the extent of prejudice to the existing

parties as a result of the would-be intervenor's failure to apply as soon as he knew or reasonably



                                                   7
    Case 2:24-cv-00104-RAH-JTA                 Document 40-1           Filed 04/26/24         Page 8 of 17




should have known of his interest; (3) the extent of prejudice to the would-be intervenor if his

petition is denied; and (4) the existence of unusual circumstances militating either for or against

a determination that the application is timely.” Angel Flight of Georgia, Inc. v. Angel Flight Am.,

Inc., 272 F. App'x 817, 819 (11th Cir. 2008) (internal citation omitted). In addition, a more

lenient standard for timeliness applies where the would-be intervenor qualifies for intervention as

of right rather than permissive intervention. United States v. Alabama, No. 2:06-CV-392-WKW,

2006 WL 2290726, at *6 (M.D. Ala. Aug. 8, 2006) (citing Stallworth v. Monsanto Co., 558 F.2d

257, 266 (5th Cir. 1977).) 1 Under either the mandatory or permissive standard, AAREB’s

motion is timely.

        First, Proposed Intervenor moved to intervene promptly after it learned of its interests in

this matter and its need to intervene. Plaintiff AAER filed its Complaint on February 13, 2024.

Compl., ECF No. 1. Members of AAREB learned of this lawsuit through local media coverage

in the Alabama Political Reporter. Brown Decl. Ex. A ⁋ 9. At that time, there was no indication

that AAREB’s interests would not be adequately protected by Defendant Ivey. In the weeks that

followed, the parties engaged in expedited briefing and a hearing on Plaintiff’s emergency

motion for a temporary restraining order and preliminary injunction. Defendant’s filings related

to the TRO indicated plans for a robust defense. See Def.’s Opp. to Mot. for TRO/Prelim. Inj.,

ECF No. 20 (raising standing, mootness, and subject matter jurisdiction arguments). Defendant

Ivey responded to the lawsuit on March 29, 2024. Answer, ECF No. 36. The Answer revealed

that AAREB’s interests would not be adequately protected by Defendant Ivey. Defendant Ivey

indicated that she would not defend the constitutionality of the Racial Minorities Requirement,



1
 The decisions of the former Fifth Circuit handed down prior to the close of business on September 30, 1981 are
binding precedent in the Eleventh Circuit. Bonner v. City of Prichard, 661 F.2d 1206, 1209 (11th Cir. 1981) (en
banc).


                                                        8
   Case 2:24-cv-00104-RAH-JTA             Document 40-1         Filed 04/26/24       Page 9 of 17




and that she did not view the General Inclusion Requirement as enforceable. Id. at 4-5.

Intervention to protect AAREB’s interests became even more apparent on April 16, when

AAREB learned that the parties were discussing a potential settlement. See Joint Mot. to

Continue 26(f) Report Deadline, ECF No. 38 (requesting continuance on account of “good faith

negotiations . . . to resolve this matter.”). Within ten days of learning that this litigation may be

resolved without any party defending the two critical statutory requirements, and less than a

month after Defendant Ivey’s Answer, AAREB is moving to intervene.

       Second, because AAREB is moving to intervene swiftly—less than a month after it

learned of its interest—the existing parties are not prejudiced by the intervention. See, e.g.,

Chiles v. Thornburgh, 865 F.2d 1197, 1213 (11th Cir. 1989) (finding motion timely and no

prejudice to the parties where motion was filed seven months after the complaint, three months

after the government’s motion to dismiss, and before discovery had begun); Georgia v. U.S.

Army Corps of Eng’rs, 302 F.3d 1242, 1259 (11th Cir. 2002) (affirming timeliness where motion

was filed six months after complaint, discovery was complete, and briefing schedule was set).

Here, discovery is not yet underway, nor has a scheduling order been issued. In addition, the

Court already determined that there is no risk of imminent or irreparable harm to Plaintiff when

it denied Plaintiff’s motion for a TRO and allowed the litigation to unfold in the normal course.

Mem. Op. and Order, ECF No. 30.

       Third, Proposed Intervenor will be unduly prejudiced if the Court denies this Motion. As

discussed infra p.13-14, AAREB believes that the two statutory requirements are lawful and

enforceable. The sole Defendant, Governor Ivey, disagrees. Given Defendant Ivey’s position,

Proposed Intervenor knows its interests in this litigation will not be represented unless this

Motion is granted. If this Motion is denied, the existing parties could resolve this matter without




                                                   9
  Case 2:24-cv-00104-RAH-JTA             Document 40-1       Filed 04/26/24      Page 10 of 17




anyone defending the statutory provisions on the merits, or by simply agreeing that the two

provisions will never be enforced. That sort of resolution, without any discovery to develop the

record as to why these provisions are crucial, will have a long-term negative impact on the

composition of the Appraisers Board and on AAREB’s interest in promoting representation for

racial minorities and other forms of inclusion on the Appraisers Board.

       Fourth, there are no unusual circumstances that militate against intervention. Cf. Salvors,

Inc v. Unidentified Wrecked & Abandoned Vessel, 861 F.3d 1278 (11th Cir. 2017) (finding that

the district court abused its discretion in denying a motion to intervene where the unusual

circumstances–namely that neither party had asserted, nor could the district court identify, any

prejudice they would suffer from intervention, but the intervenor would be prejudiced if unable

to assert its interests–militated for allowing intervention); Conway v. Blue Cross Blue Shield of

Alabama, No. 2:12-cv-02532-RDP, 2019 WL 1620360 at *6 (N.D. Ala. Apr. 16, 2019) (denying

a motion to intervene in part because of unusual circumstances that militated against

intervention, namely that intervention would lead to essentially “inserting an Alabama federal

court into what is clearly a significant Pennsylvania conundrum”).

           B. AAREB has a legally protectable interest in this matter.

       AAREB meets Rule 24(a)’s interest requirement because it has a “direct, substantial, and

legally protectable interest” in these proceedings. Mt. Hawley Ins. Co. v. Sandy Lake Props.,

Inc., 425 F.3d 1308, 1311 (11th Cir. 2005). An intervenor’s interest must be “something more

than an economic interest” and must “derive[] from a legal right.” Id. However, an intervenor

need not demonstrate Article III standing to intervene. Loyd v. Alabama Dep’t of Corrs., 176

F.3d 1336, 1341 n. 9 (11th Cir. 1999).




                                                10
  Case 2:24-cv-00104-RAH-JTA            Document 40-1        Filed 04/26/24      Page 11 of 17




       Here, AAREB has a demonstrated legal interest in ensuring both that the Appraisers

Board includes historically excluded racial minorities and that an effort is made to include a

range of perspectives. AAREB’s members include licensed appraisers who are directly regulated

by the Appraisers Board, one member who currently serves on the Appraisers Board, and other

members who may later apply to serve. Brown Decl. Ex. A ⁋⁋ 10, 13. To enhance inclusivity and

representation in the appraising profession, AAREB encourages its members to participate on

public boards like the Appraisers Board and engages in mentoring and outreach to historically

underrepresented groups. Id. ⁋⁋ 13, 14. AAREB’s efforts and interests will be directly impacted

if the challenged statutory provisions are struck down.

       Much like the intervenors in Wooden v. Bd. of Regents of the Univ. Sys. of Georgia,

AAREB and its members will be directly impacted if Plaintiff AAER succeeds in nullifying the

two statutory requirements. 247 F.3d 1262, 1268 (11th Cir. 2001) (noting that organizations

representing Black applicants and individuals successfully intervened to defend the consideration

of race in remedying Georgia’s formerly segregated system of higher education). In the

challenge to the University of Georgia’s race-conscious admissions program, the district court

explained that intervention was appropriate because the litigation would determine the racial

composition of intervenors’ future classes and prospective Black students’ ability to have their

race considered as one factor in the existing admissions policy. Johnson v. Bd. of Regents of the

Univ. Sys. of Georgia, 4:99-CV-00169-BAE, Order (Dec. 15, 1999) 3, ECF No. 75. That same

reasoning applies to AAREB and its members. The challenged statutory requirements impact the

composition of the Appraisers Board and the ability of prospective Black applicants, including

AAREB’s members, to serve on the Appraisers Board.




                                                11
  Case 2:24-cv-00104-RAH-JTA             Document 40-1        Filed 04/26/24      Page 12 of 17




       Wooden is not an outlier. Other courts have granted intervention to impacted individuals

and organizations in similar cases about whether race can be considered in certain programs. See,

e.g., Grutter v. Bollinger, 188 F.3d 394, 399 (6th Cir. 1999) (holding that interest in maintaining

the use of race as a factor in the University’s admissions program is a sufficient substantial legal

interest to support intervention as of right); Sims v. Montgomery Cnty. Comm'n, 887 F. Supp.

1479, 1482 (M.D. Ala. 1995), aff’d sub nom. Sims v. Montgomery Cnty. Comm’n, 119 F.3d 9

(11th Cir. 1997) (noting that white male deputies successfully intervened to oppose race-based

promotion practices in a consent decree); Students for Fair Admissions Inc. v. Univ. of N.

Carolina, 319 F.R.D. 490, 493-96 (M.D.N.C. 2017) (granting permissive intervention to

“minority students” at UNC-Chapel Hill, and “high-achieving minority students” who intended

to apply, to develop the factual record on the legacy of racial discrimination and how the

challenged admissions policy contributed to creating campus diversity); cf. Podberesky v.

Kirwan, 38 F.3d 147, 162 n.* (4th Cir. 1994) (discussing that Black students who previously

received a scholarship for Black students at the University of Maryland had successfully

intervened in the lawsuit challenging that program).

       Moreover, representation on the Appraisers Board is critical to addressing historical

discrimination that has impacted home ownership and property values, and current

discriminatory practices in the real estate industry, such as appraisal bias. Greater inclusivity and

representation on the Appraisers Board helps to reassure the public that the Appraisers Board

will be accountable and responsive to their concerns, including potential complaints about

discrimination in the appraisal process. See Brown Decl. Ex. A ⁋ 11, 12. As to the Racial

Minorities Requirement, in particular, AAREB believes that it is necessary to correct for the

legacy of racial discrimination that still impacts Black Alabamians, including real estate




                                                 12
  Case 2:24-cv-00104-RAH-JTA             Document 40-1         Filed 04/26/24      Page 13 of 17




professionals and home buyers. Id. ⁋ 15. AAREB has successfully advocated against a similar

effort by the Legislature to remove a seat designated for a Black commissioner on Alabama’s

Real Estate Commission. Id. ⁋ 16.

            C. The outcome here may impair Proposed Intervenor’s interests.

        The disposition of this matter, “will, as a practical matter, impair [AAREB’s] ability to

protect [its] interests.” Chiles, 865 F.2d at 1214. Whether this matter is resolved by the Court, or

through a negotiated settlement that undermines or completely does away with the Racial

Minorities Requirement and the General Inclusion Requirement, AAREB’s interests will

necessarily be implicated. “Where a party seeking to intervene in an action claims an interest in

the very property and very transaction that is the subject of the main action, the potential stare

decisis effect may supply that practical disadvantage which warrants intervention as of right.” Id.

AAREB’s ability to later seek to enforce these provisions would be impaired, if not foreclosed, if

there is a judicial declaration that the challenged provisions are either unconstitutional or

unenforceable. In the same way, if the parties resolve this matter simply by agreeing that the

Governor will not enforce these provisions, AAREB would be left with unclear pathways to

vindicate its interests.

            D. The existing parties inadequately protect Proposed Intervenor’s interests.

    An intervenor’s burden is “minimal” to show that its interests may be inadequately

represented. Chiles, 865 F.2d at 1214 (citing Trbovich v. United Mine Workers of Am., 404 U.S.

528, 538 n. 10 (1972)). Additionally, any doubts about adequacy should be “resolved in favor of

the proposed intervenors.” Fed. Sav. & Loan Ins. Corp. v. Falls Chase Special Taxing Dist., 983

F.2d 211, 216 (11th Cir. 1993). Adequacy will be presumed “when an existing party pursues the

same ultimate objective as the party seeking intervention." Id. at 215.



                                                 13
  Case 2:24-cv-00104-RAH-JTA             Document 40-1         Filed 04/26/24      Page 14 of 17




    Any presumption of adequacy is defeated here because Defendant Ivey does not seek the

“same ultimate objective” as AAREB. Id. Defendant Ivey has conceded that the Racial

Minorities Requirement is unconstitutional and has stated that the General Inclusion

Requirement is unenforceable – a significant divergence from AAREB’s position. AAREB is not

seeking to intervene to pursue a different legal strategy for achieving the same objective as the

Governor; AAREB seeks a different outcome from Defendant Ivey. If allowed to intervene,

AAREB will vigorously defend both requirements in the challenged statute.

    Moreover, Defendant Ivey’s seeming willingness to settle further shows that AAREB’s

interests will not be adequately protected by the existing parties. In Clark v. Putnam Cnty., the

court held that county commissioners did not adequately represent the intervenors, six Black

voters, because the commissioners represented all county residents, were elected officials with

an interest in political popularity, and signaled their willingness to settle even though the

intervenors were adverse to settlement. 168 F.3d 458, 461 (11th Cir. 1999). Here too, Defendant

Ivey is an elected official that is charged with representing all Alabamians and her admitted

willingness to resolve this lawsuit in its early stages cuts against AAREB’s interest in upholding

the two statutory requirements. Intervention as a right is appropriate here.

 II.   In the Alternative, Proposed Intervenor Seeks Permissive Intervention.

    If the Court finds that Proposed Intervenor cannot intervene as of right, AAREB asks this

Court to grant permissive intervention. Under Rule 24(b) of the Federal Rules of Civil

Procedure, “[o]n timely motion, the court may permit anyone to intervene who . . . has a claim or

defense that shares with the main action a common question of law or fact.” Fed. R. Civ. P.

24(b)(1)(B). “In exercising its discretion, the court must consider whether the intervention will




                                                 14
  Case 2:24-cv-00104-RAH-JTA             Document 40-1         Filed 04/26/24      Page 15 of 17




unduly delay or prejudice the adjudication of the original parties’ rights.” Fed. R. Civ. P.

24(b)(3).

   As discussed supra 7-9, this Motion is timely. And Proposed Intervenor’s defense of the

challenged statutory requirements, including asserting that they are constitutional and

enforceable, certainly shares common questions of law or fact with the main action. Finally,

permitting intervention will not cause undue delay or prejudice to the original parties. This

litigation is in its nascent stages: there is no scheduling order in place that would need to be

modified due to AAREB’s intervention and discovery has not commenced. Permissive

intervention is appropriate here.

                                          CONCLUSION

       For the foregoing reasons, Proposed Intervenor, AAREB, respectfully requests that this

Court grant its Motion to Intervene and allow it to file an Answer (attached as Exhibit B).




                                                 Respectfully submitted,


                                                 /s/ Martin E. Weinberg
                                                 Martin E. Weinberg
                                                 Ala. Bar No. ASB-0817-A61W
                                                 Law Firm of Martin E. Weinberg
                                                 P.O. Box 154
                                                 Shannon, Alabama 35142
                                                 (205)785-5575
                                                 attorneyweinberg@bellsouth.net

                                                 Victoria S. Nugent*
                                                 D.C. Bar. No. 470800
                                                 Sunu Chandy*
                                                 D.C. Bar No. 1026045
                                                 Brooke Menschel
                                                 Ala. Bar No. ASB-7675-Z61K
                                                 Democracy Forward Foundation


                                                 15
Case 2:24-cv-00104-RAH-JTA   Document 40-1    Filed 04/26/24    Page 16 of 17




                                  P.O. Box 34553
                                  Washington, DC 20043
                                  (202) 448-9090 Ext. 1011
                                  vnugent@democracyforward.org
                                  schandy@democracyforward.org
                                  bmenschel@democracyforward.org

                                  *Pro Hac Vice Forthcoming
                                  Counsel for Proposed Intervenor




                                  16
 Case 2:24-cv-00104-RAH-JTA            Document 40-1         Filed 04/26/24      Page 17 of 17




                               CERTIFICATE OF SERVICE

       I hereby certify that on April 26, 2024, I electronically filed a copy of the foregoing with

the Clerk of the Court via CM/ECF which will send notification to all counsel of record.


                                                      /s/ Martin E. Weinberg
                                                      Martin E. Weinberg
